      Case 6:07-cr-10142-JTM       Document 1894       Filed 07/15/16    Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                     Plaintiff,

v.                                                      Case No. 6:07-cr-10142-JTM-16

SYCARR GREENLEY,

                     Defendant.


                            MEMORANDUM AND ORDER

       This matter is before the court on defendant Sycarr Greenley’s Motion for Early

Termination of Supervised Release (Dkt. 1889). The United States opposes the motion

(Dkt. 1893). After reviewing the circumstances of the request, the court concludes that

the motion should be denied.

       Section 3583(e)(1) of Title 18 provides in part that after expiration of at least one

year of supervised release, and after considering the factors in § 3553(a), a district court

may end a term of supervision and discharge the defendant “if it is satisfied that such

action is warranted by the conduct of the defendant … and the interest of justice.”

       Defendant argues that since beginning supervised release, he has met all of his

conditions, including maintaining steady employment, avoiding illegal drugs, and

continuously submitting monthly reports. A report of the Probation Office essentially

confirms these statements. But a review of the record also shows that defendant has an

extensive criminal history, with prior convictions including theft, drugs, and sexual
     Case 6:07-cr-10142-JTM       Document 1894         Filed 07/15/16   Page 2 of 2




assault. His conviction in the instant case was for racketeering and possession with

intent to distribute cocaine base. He completed his custodial sentence of 96 months and

has now served a little over one year of the five-year term of supervision that was

imposed by the court.

      Defendant has made a commendable start to supervision. But considering all of

the circumstances, including defendant’s history and characteristics, the court

concludes that continued supervision will be helpful to the defendant and will enable

him to maintain the positive transition he has begun.

      IT IS THEREFORE ORDERED this 15th day of July, 2016, that defendant’s

Motion for Early Termination of Supervised Release (Dkt. 1889) is DENIED.



                                        ___s/ J. Thomas Marten________
                                        J. THOMAS MARTEN, JUDGE




                                           2
